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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6
CIVIL MINUTES — GENERAL

Case No. 2:21-cv-04622-CJC-MAR Date October 21, 2021

 

 

Title Joshua Cuevas v. Miriam G. Silinsky

 

Present: The Honorable CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

 

Rolls Royce Paschal None Reported
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
VOLUNTARY DISMISSAL

The Court, having been advised by the Plaintiff that this action has been resolved by a
Notice of Voluntary Dismissal [14], hereby orders this action dismissed without prejudice. The
Court hereby orders all proceedings in the case vacated and taken off calendar.

 

Initials of Deputy Clerk —s rrp

 

 

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